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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


NATIONAL ASSOCIATION FOR THE                   )
ADVANCEMENT OF COLORED                         )
PEOPLE,                                        )
                                               )
                        Plaintiff,             )
                                               )
v.                                             ) Civil Action No. 20-cv-2295 (EGS)
                                               )
UNITED STATES POSTAL SERVICE,                  )
et al.,                                        )
                                               )
                        Defendants.            )
                                               )

                                      [PROPOSED] ORDER

        It is hereby ORDERED that:

            1.   No later than 2:00PM EST/1:00 PM CST today, Defendants shall contact every

     plant manager overseeing a processing facility in Texas and direct them to: (a) instruct plant

     employees to undertake an immediate sweep of the facility to identify any inbound ballots

     postmarked yesterday or earlier, and have such ballots sent out for delivery to local election

     offices for receipt by 5:00 PM local time; and (b) instruct plant employees to undertake an

     additional sweep of the facility at 4:00PM EST/3:00 CST today to identify any inbound

     ballots postmarked yesterday or earlier, and have such ballots sent for delivery to local

     election offices for receipt by 5:00 PM local time. These instructions should be

     communicated both by email and orally.

            2. Defendants shall further instruct plant managers to record the number of ballots

     they identify during these sweeps and to describe the steps taken to ensure their delivery at

     local election offices for receipt by 5:00 PM local time.




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          3. No later than 2:00 PM EST/1:00 CST today, Defendants shall send an email to

   the managers of all post offices in Texas reminding them that any local ballots delivered to

   the post office yesterday or earlier should bypass the ordinary processing system and sent for

   delivery to local election offices for receipt by no later than 5:00 PM local time.

          4. No later than 4:00 PM/3:00 PM EST today, Defendants shall file with the Court a

   certification that they have complied with paragraphs 1 through 3 above, and they shall

   summarize the information learned from plant managers as required by paragraph 2 for the

   first set of sweeps. No later than 10:00 AM tomorrow, Defendants shall file with the Court a

   summary of the information learned from plant managers as required by paragraph 2 for the

   second set of sweeps.

SO ORDERED.

                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE
Dated: __________________




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